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                          In the United States District Court
                           For the Southern District of Ohio
                             Western Division at Cincinnati


 Richard Ruehlman,

        On behalf of himself and those              Case No. 1:20-cv-903
        similarly situated,

                Plaintiff,

        v.                                          Judge Douglas R. Cole

 E. G. Meiners Enterprises, Inc., et al.,           Magistrate Judge Karen L. Litkovitz

                Defendants.


             Stipulation of Voluntary Dismissal without Prejudice


       Plaintiff Richard Ruehlman and Opt-in Plaintiff Noah Anderson hereby dismiss all claims

against Defendants in the above-captioned action without prejudice. Plaintiffs have neither settled

nor otherwise resolved their claims against Defendants.

       The parties hereby stipulate and agree that all claims against Defendants in the above-

captioned matter shall be dismissed without prejudice.


Respectfully submitted,


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                                Certificate of Service

       The undersigned hereby certifies that a copy of the foregoing was served upon counsel for

Defendants on April 22, 2021, through the Court’s ECF system.

                                            /s/ Philip Krzeski
                                            Philip Krzeski




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